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12
                                 UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                       WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                  NO.   2:21-cv-4569
16
                 Plaintiff,                      VERIFIED COMPLAINT FOR FORFEITURE
17
                       v.                        18 U.S.C. § 981(a)(1)(A) & (C)
18
      REAL PROPERTY LOCATED IN MALIBU,           [I.R.S.]
19
      CALIFORNIA,
20
                 Defendant.
21

22
            The United States of America brings this claim against the
23
      defendant Real Property Located in Malibu, California, and alleges as
24
      follows:
25
                                    JURISDICTION AND VENUE
26
            1.    This is a civil forfeiture action brought pursuant to 18
27
      U.S.C. § 981(a)(1)(A) and (C).
28
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1           2.    This court has jurisdiction over this matter under 28

2     U.S.C. §§ 1345 and 1355.

3           3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

4                                  PERSONS AND ENTITIES
5           4.    The plaintiff is the United States of America.

6           5.    The defendant is a Real Property Located in Malibu,

7     California (the “Defendant Property”) 1.         The Assessor’s Parcel Number

8     for the Defendant Property is 4453-033-006.              The legal description of

9     the Defendant Property is as follows:

10          Real property in the unincorporated area of the County of Los

11          Angeles, State of California, described as follows:

12          Lot 58 2 of Tract No. 30203, in the County of Los Angeles, State

13          of California, as per map recorded in book 867 pages 80 through

14          86 of maps, in the office of the County Recorder of said county.

15          Except therefrom 1/8th of all oil, petroleum, gas, coal,

16          asphaltum and other hydrocarbon substances and other minerals

17          under and in said land without the right to go upon said land to

18          take or extract said substances, as reserved by Edmund M. Mc

19          Cray and Elisabeth Gordon-Mc Cray, husband and wife, in deed

20          recorded May 26, 1965 as Instrument No. 1406 Official Records.

21          Also except 1/8th of all oil, petroleum, gas, coal, asphaltum and

22          other hydrocarbon substances and other minerals under and in

23          said land without the right to go upon said land to take or

24

25          1Pursuant to Local Rule 5.2-1 of the Local Civil Rules for the
      Central District of California, only the city and state of
26    residential addresses are set forth in this Complaint.
           2 A grant deed conveying the Defendant Property to Melvin Huges,
27
      Trustee of the Bandele Trust dated November 13, 2019, erroneously
28    identified the parcel as lot #55, but identified the correct property
      address and APN for the Defendant Property.
                                         2
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1           extract said substances, as reserved by Peter Baley, in deed

2           recorded March 25, 1971 as Instrument No. 3441, Official

3           Records.

4           Also except 1/8th of all oil, gas, coal, petroleum, asphaltum and

5           other hydrocarbon substances and other minerals under and in

6           said land without the right to go upon said land to take or

7           extract said substances, as reserved by Arlene Lemay (Thompson),

8           in deed recorded July 14, 1971 as Instrument No. 2324, Official

9           Records.
10          6.    Title to the Defendant Property purports to be in the name
11    of Patricia Morris and The Modupe Trust. 3
12          7.    The interests of Melvin Huges (“Huges”), Patricia Morris,

13    the Modupe Trust, and the Bandele Trust (“Bandele”) may be adversely

14    affected by these proceedings.

15                                   BASIS FOR FORFEITURE

16          8.    The Internal Revenue Service (“IRS”) is responsible for

17    investigating fraudulent tax refund schemes, including those

18    involving fraudulently-filed tax returns.

19                               The Fraudulent Returns Scheme

20          9.    The IRS Scheme Development Center (“IRS-SDC”) identifies

21    potentially-fraudulent tax returns based on a review of IRS tax

22    record databases, including records stored on the IRS Integrated Data

23    Retrieval System (“IDRS”).         The IDRS system maintains data regarding

24    all returns filed with the IRS, including information regarding the

25

26
            3A quitclaim grant deed executed in or about June of 2020
27    purported to transfer the Defendant Property to Patricia Morris and
      The Modupe Trust for no apparent consideration, but erroneously
28    identified the parcel as lot #55, and appears to have been recorded
      under an incorrect lot number.
                                         3
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1     amount of income, deductions, withholdings, tax liabilities and/or

2     tax refunds claimed on each return, as well as information regarding

3     the listed tax-preparer for each return.

4           10.   The IRS-SDC identified one such fraudulent return scheme

5     operating between at least 2018 through 2020.            The scheme

6     perpetrators (hereinafter the “Schemers”) submitted, both

7     electronically and by mail, more than twenty fraudulent tax returns

8     which claimed at least $210,166,675 in refunds (the “False Returns”).

9           11.   Twenty-two of the False Returns filed by the Schemers, as
10    well as the IRS transcripts summarizing the relevant income, tax
11    liabilities, withholdings, and refunds claimed for all of these
12    returns, were reviewed by IRS agents.         Each of these False Returns
13    was accompanied by one or more fraudulent IRS Forms 1099 4 which
14    indicated that the filer had received a large amount of interest

15    income, and that virtually all of that interest income had been

16    withheld and paid over to the IRS (the “Withheld Income”).

17    Accordingly, these False Returns created the fraudulent impression

18    that, due to the Withheld Income, the IRS owed a large amount of

19    money to the filer.

20          12.   The fraudulent Forms 1099 submitted to the IRS as part of

21    this underlying scheme generally indicated that the “Payers” of the

22    Withheld Income were large financial institutions, such as banks,

23    mortgage companies, credit card companies, and insurance companies,

24    or credit-issuing companies such as PayPal and Tesla.

25

26
            4IRS Form 1099 comes in a variety of subtypes, but all are used
27    to record and report miscellaneous income. Form 1099 is commonly
      used by taxpayers to provide information to the IRS about different
28    types of income received throughout the year outside of regular
      salary.
                                         4
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1           13.   In fact, the Withheld Income was entirely fictitious, and

2     the IRS actually owed nothing to the Schemers.            A comparison of the

3     Withheld Income claimed on the False Returns with IRS records of

4     amounts of actually withheld income, as reported and submitted to the

5     IRS by the third-parties referenced on the False Returns, showed that

6     the withholding amounts claimed on these False Returns were entirely

7     fabricated and the Withheld Income was never actually withheld or

8     paid over to the IRS.

9           14.   As a direct result of the False Returns, the IRS deposited
10    approximately $13,763,934.23 in fraudulent tax refunds into bank
11    accounts controlled by the Schemers (the “Schemer Bank Accounts”).
12    Funds from the Schemer Bank Accounts were then used to purchase,
13    among other assets, the Defendant Property.
14    Huges Submits Two False Returns Claiming Approximately $6,285,018.18

15          15.   Huges was a principal orchestrator of the above-described

16    scheme to file the False Returns.

17          16.   Huges established Bandele on or about April 24, 2016.

18          17.   As part of the above-described scheme, Huges caused False

19    Returns to be filed on behalf of Bandele for tax years 2016 and 2017

20    (the “Bandele False Returns”).

21          18.   On or about June 6, 2019, Huges caused a false 2016 Form

22    1041 5 to be filed on behalf of Bandele, which claimed falsified

23    withholding tax credits of at least $5,709,941. In support of the

24    claimed withholdings, the 2016 Form 1041 included the following

25    attachments:

26                a)   A Form 1099-K purportedly from “PAY PALL” reporting

27

28          5IRS Form 1041 is the U.S. Income Tax Returns for Estates and
      Trusts.
                                         5
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1     $178,281.70 in federal income tax withholdings;

2                 b)   A Form 1099-B purportedly from “PAY PAL” reporting

3     $1,604,535.30 in federal income tax withholdings;

4                 c)   A Form 1099-K purportedly from “MASTER CARD” reporting

5     $178,281.70 in federal income tax withholdings;

6                 d)   A Form 1099-B purportedly from “US BANK CORP”

7     reporting $215,364.60 in federal income tax withholdings;

8                 e)   A Form 1099-K purportedly from “VISA INC” reporting

9     $23,929.40 in federal income tax withholdings;
10                f)   A Form 1099-K purportedly from “US BANK CORP”
11    reporting $23,929.40 in federal income tax withholdings;
12                g)   A Form 1099-B purportedly from “CITI BANK” reporting
13    $3,165,836.50 in federal income tax withholdings;
14                h)   A Form 1099-K purportedly from “CITI BANK” reporting
15    $319,781.50 in federal income tax withholdings; and
16                i)   A Form 1099-K purportedly from “VISA INC” reporting
17    $319,781.50 6 in federal income tax withholdings.
18          19.   Bandele’s 2016 Form 1041 was submitted electronically, and

19    attached a purported letter and confirmation of postage, signed by

20    Huges, addressed to the Chief Executive Officer of the “Office of PAY

21    PAL (payer)” demanding that the company file a 1099-OID on behalf of

22    Huges and/or his estate.

23

24

25
            6 The total withholdings reported on the attachments included
26    with the 2016 Form 1041 filed on behalf of Bandele exceed the
      withholdings claimed on the Form 1041. Specifically, the attachments
27    included with the return report total withholdings of $6,029,721.60
      while the tax return itself reports only $5,709,941 in withholdings.
28    The discrepancy appears to have been caused by Huges excluding one of
      the K-1 forms in the amount of $319,781.50 from his computations.
                                         6
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1           20.   In fact, Bandele’s 2016 Form 1041 and the Form 1099s

2     accompanying it were materially false, in that the IRS did not

3     receive any of the amounts claimed as Federal income tax withheld on

4     the Form 1099s accompanying this return.

5           21.   The Bandele 2016 Form 1041 resulted in the issuance of

6     United States Treasury check number 4038-77460702, in the amount of

7     $5,778,234.78, which included interest paid by the IRS of $68,293.78.

8           22.   On or about July 1, 2019, Huges caused a false 2017 Form

9     1041 to be filed on behalf of Bandele, which claimed falsified
10    withholding tax credits of at least $502,842.            In support of the
11    claimed tax withholdings, the 2017 Form 1041 included the following
12    attachments:
13                a)   A 2017 Form 1099-K, purportedly from “VISA,” reporting
14    $251,420.76 in federal income tax withholdings;
15                b)   A 2017 Form 1099-B, purportedly from “US BANK CORP,”
16    reporting $251,420.76 in federal income tax withholdings; and
17                c)   A 2017 Form 1099-OID, purportedly from “US BANK CORP,”
18    reporting $251,420.76 in federal income tax withholdings. 7

19          23.   Bandele’s 2017 Form 1041 was submitted electronically, and

20    attached an IRS Form 2848, 8 signed by Huges.

21

22

23
            7The total withholdings reported on the attachments included
24    with the 2017 Form 1041 filed on behalf of Bandele exceed the
      withholdings claimed on the Form 1041. Specifically, the attachments
25    included with the return report total withholdings of $754,262.28,
      while the tax return itself reports only $502,842 in withholdings.
26    The discrepancy appears to have been caused by Huges excluding one of
      the K-1 forms in the amount of $251,420.76 from his computations.
27

28          8The IRS Form 2848 is Power of Attorney and Declaration of
      Representative.
                                         7
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1           24.   In fact, Bandele’s 2017 Form 1041 and the Form 1099s

2     accompanying it were materially false, in that the IRS did not

3     receive any of the amounts claimed as Federal income tax withheld on

4     the Form 1099s accompanying this return.

5           25.   The Bandele 2017 Form 1041 resulted in the issuance of

6     United States Treasury check number 4038-77460703, in the amount of

7     $506,783.40, which included interest paid by the IRS of $3,941.40.

8           26.   In total, the Bandele False Returns led to the issuance of

9     treasury checks in the amount of $6,285,018.18.
10       The Defendant Property is Traceable to the Bandele False Returns

11          27.   The United States Treasury checks representing the refunds

12    generated by the Bandele False Returns were deposited into JPMorgan

13    Chase Checking account ending in 0968 (“Chase Account x0968”).

14    Specifically:

15                a)   United States Treasury check number 4038-77460703 for

16    $506,783.40 was deposited into Chase Account x0968 on or about

17    October 7, 2019; and

18                b)   United States Treasury check number 4038-77460702 for

19    $5,778,234.78 was deposited into Chase Account x0968 on or about

20    October 9, 2019.

21          28.   These deposits of the refunds generated by the Bandele

22    False Returns totaled $6,285,018.18.

23          29.   The Chase Account x0968 was in the name of Bandele Trust

24    EIN XX-XXXXXXX, Melvin L Huges Trustee.

25          30.   Prior to these deposits, as of October 3, 2019, the balance

26    in Chase Account x0968 was $13,106.96.

27          31.   On or about October 23, 2019, Huges caused the transfer of

28    $5,079,411.52 from Chase Account x0968 to JPMorgan Chase Savings

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1     account ending in 5878 (“Chase Account x5878”), in the name of

2     “Bandele Trust, Melvin Louis Huges Trustee.”

3           32.   Prior to this transfer, the balance in Chase Account x5878

4     was $0.00.    This account was opened on October 5, 2019.

5           33.   The Defendant Property was purchased in full for

6     $1,840,000.00, using the funds transferred from Chase Account x5878,

7     as follows:

8                 a)    On or about November 7, 2019, $55,000.00 was wire

9     transferred from Chase Account x5878 to West Coast Escrow, Escrow
10    Number 4510819-0, towards the purchase of the Defendant Property; and
11                b)    On or about November 20, 2019, $1,791,700.00 was wire
12    transferred from Chase Account x5878 to West Coast Escrow, Escrow
13    Number 4510819-0, as payment for the remaining balance due for the
14    Defendant Property.
15                                   FIRST CLAIM FOR RELIEF

16          34.   Based on the foregoing, the government alleges that the

17    Defendant Property constitutes or is derived from proceeds traceable

18    to violations of 18 U.S.C. §§ 641 (theft of public money), 1341 (mail

19    fraud) and 1343 (wire fraud), which are specified unlawful activities

20    as defined in 18 U.S.C. §§ 1956(c)(7) and 1961(1).             The Defendant

21    Property is therefore subject to forfeiture pursuant to 18 U.S.C.

22    § 981(a)(1)(C).

23                                  SECOND CLAIM FOR RELIEF

24          35.   Based on the foregoing, the government alleges that the

25    Defendant Property constitutes property involved in multiple

26    transactions or attempted transactions in violation of 18 U.S.C.

27    § 1957 (Money Laundering – engaging in a monetary transaction with

28    criminally derived funds), or property traceable to such property,

                                              9
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1    with the specified unlawful activity being violations of 18 U.S.C.

2    §§ 641, 1341, 1343.     The Defendant Property is therefore subject to

3    forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

4          WHEREFORE, plaintiff United States of America prays:

5          a.    that due process issue to enforce the forfeiture of the

6    Defendant Property;

7          b.    that due notice be given to all interested parties to

8    appear and show cause why forfeiture should not be decreed;

9          c.    that this court decree forfeiture of the Defendant Property
10   to the United States of America for disposition according to law; and
11         d.    for such other and further relief as this Court may deem
12   just and proper, together with the costs and disbursements of this
13   action.
14

15    Dated: June 3, 2021                  TRACY L. WILKISON
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20                                             /s/ Dan G. Boyle
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